B18 (Official Form 18) (12/07)

                                  United States Bankruptcy Court
                                        Western District of Washington
                                         700 Stewart St, Room 6301
                                             Seattle, WA 98101

                                              Case No. 09−23053−SJS
                                                    Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Rosemary Ann Ferreira                                     Carlos A Ferreira
   aka Ann Ferreira, fdba Afix Corp                          fdba Afix Corp
   9202 NE 120th St                                          9202 NE 120th St
   Kirkland, WA 98034                                        Kirkland, WA 98034
Social Security/Individual Taxpayer ID No.:
   xxx−xx−7542                                              xxx−xx−3502
Employer Tax ID/Other nos.:



                                         DISCHARGE OF DEBTOR




The Debtor(s) filed a Chapter 7 case on December 11, 2009. It appearing that the Debtor is entitled to a discharge,

IT IS ORDERED:

The Debtor is granted a discharge under 11 U.S.C. § 727.



                                                            BY THE COURT

Dated: October 27, 2010                                     Samuel J. Steiner
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




      Case 09-23053-TWD            Doc 93       Filed 10/29/10       Ent. 10/29/10 21:49:42          Pg. 1 of 4
B18 (Official Form 18) (12/07) − Continued


                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




      Case 09-23053-TWD               Doc 93      Filed 10/29/10        Ent. 10/29/10 21:49:42          Pg. 2 of 4
                          CERTIFICATE OF NOTICE
District/off: 0981-2           User: dannyr                 Page 1 of 2                   Date Rcvd: Oct 27, 2010
Case: 09-23053                 Form ID: b18                 Total Noticed: 42

The following entities were noticed by first class mail on Oct 29, 2010.
db/jdb       +Rosemary Ann Ferreira,    Carlos A Ferreira,     9202 NE 120th St,    Kirkland, WA 98034-6123
sr           +Ann Beeman Architects,    c/o Kinsel Law Offices,     2025 1st Ave #440,    Seattle, WA 98121-2176
952193381    +Ann Beeman Architects,    c/o Wm Kinsel,     2025 1st Ave #440,    Seattle WA 98121-2176
952193382    +Chase,   3415 Vision Dr.,     Columbus, OH 43219-6009
952193384     Comcast,   PO Box 97002,     Seatttle, WA 98124-1227
952762767    +D.R. Strong Consulting Engineers, Inc.,      c/o Dennis J. Perkins, Attorney,
               10900 NE 4th Street, Ste. 1570,     Bellevue, WA 98004-8302
952193388    +DR Strong,    10604 NE 38th,    Ste 101,    Kirkland, WA 98033-7932
952193386    +Dennis Perkins,    1570 Skyline Tower,    10900 NE 4th St,    Bellevue, WA 98004-5873
952193387    +Direct Loans,    PO Box 530,    Atlanta, GA 30301-0530
952193389    +ESA Adolfson,    5309 Shilshole Ave NW,     Seattle, WA 98107-5318
952159380    +Enhanced Recovery Corp,     8014 Bayberry Rd,    Jacksonville, FL 32256-7412
952193390    +Evergreen,    PO Box 11610,    Tacoma, WA 98411-6610
952193391    +Evergreen Emergency Services,     PO Box 2065,    Seattle, WA 98111-2065
952159381    +Evergreen Professional,     12100 Ne 195th St Ste 18,    Bothell, WA 98011-5761
952193392    +Farmers,   Two Wells Ave,     Dept 9134,    Newton, MA 02459-3208
952193393    +Glaucoma Consultants,    1221 Madison St.,     Ste 1124,   Seattle, WA 98104-3536
952193394    +H & C International,    395 Scotland Ct.,     Port Orchard, WA 98366-3634
952193395     Healthpoint,    955 Ave SW,    Renton, WA 98057
952193397    +King County Waste,    King County Treasury,     500 Fourth #600,    Seattle, WA 98104-2340
952193398    +Kirkland Family Chiropractic,     822 6th St S.,    Kirkland, WA 98033-6714
952193399    +Labcorp,   PO Box 2240,     Burlington, NC 27216-2240
952193400    +Law Office of Catherine Clark,     701 5th Ave,    Ste 4785,    Seattle, WA 98104-7063
952159383    +Litton Loan Servicing,    Attention: Bankruptcy,      4828 Loop Central Drive,
               Houston, TX 77081-2212
952193401    +Northwest Trustee Services,     PO Box 997,    Bellevue, WA 98009-0997
952193402    +R&S Electric,    PO Box 1412,    Marysville, WA 98270-1412
952755710    +RE/MAX Northwest Realty,     300 NE 97th Street,    Seattle, WA 98115-2026
952193403     Radia (MCA),    7281 134th St SW,    Ste 120,    Everett, WA 98204
952159385    +Us Dept Of Education,    Po Box 5609,    Greenville, TX 75403-5609
952159384    +Us Dept Of Education,    Attn: Borrowers Service Dept,     PO Box 5609,    Greenville, TX 75403-5609
952193404    +Verizon Wireless,    PO Box 988,    Harrisburg, PA 17108-0988
The following entities were noticed by electronic transmission on Oct 28, 2010.
tr           +EDI: QRGBROWN.COM Oct 27 2010 21:13:00      Ronald G Brown,    999 3rd Ave Ste 2525,
               Seattle, WA 98104-4032
smg           EDI: WADEPREV.COM Oct 27 2010 21:13:00      State of Washington,    Department of Revenue,
               2101 4th Ave, Ste 1400,    Seattle, WA 98121-2300
952159376    +EDI: AGFINANCE.COM Oct 27 2010 21:13:00      American General Finan,     13401 Ne Bel Red Rd #b1,
               Bellevue, WA 98005-2345
952159377    +EDI: BANKAMER2.COM Oct 27 2010 21:13:00      Bank Of America,    Po Box 1598,
               Norfolk, VA 23501-1598
952159378    +EDI: CAPITALONE.COM Oct 27 2010 21:13:00      Capital 1 Bank,    Attn: C/O TSYS Debt Management,
               PO Box 5155,   Norcross, GA 30091-5155
952193383    +EDI: CHASE.COM Oct 27 2010 21:13:00      Chase (formerly WAMU),
               Attention: Bankruptcy Dept. JAXA 2035,     7255 Bay Meadows Way,    Jacksonville, FL 32256-6851
952755707    +EDI: CITICORP.COM Oct 27 2010 21:13:00      Citibank NA,    PO Box 6241,
               Sioux Falls, SD 57117-6241
952159379    +EDI: CREDPROT.COM Oct 27 2010 21:13:00      Crd Prt Asso,    13355 Noel Rd Ste 2100,
               Dallas, TX 75240-6837
952193385    +EDI: CCS.COM Oct 27 2010 21:13:00      Credit Collection Services,    Two Wells Ave,    Dept 587,
               Newton, MA 02459-3208
952755709    +EDI: HFC.COM Oct 27 2010 21:13:00      HSBC Bank USA National Association,     PO Box 5253,
               Carol Stream, IL 60197-5253
952159382    +EDI: IRS.COM Oct 27 2010 21:13:00      Internal Revenue Service,    PO BOX 21125,
               PHILADELPHIA, PA 19114-0325
952159386    +EDI: CHASE.COM Oct 27 2010 21:13:00      Washington Mutual Mortgage,
               Attention: Bankruptcy Dept. JAXA 2035,     7255 Bay Meadows Way,    Jacksonville, FL 32256-6851
                                                                                               TOTAL: 12
             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr              Citibank NA
cr              H & C Internationale, Ltd.
cr              HSBC Bank USA National Association
r               RE/MAX Northwest Realty
r               Rik Jones
952193396    ##+ICC Ideal Credit Corp,   PO Box 3383,   Everett, WA 98213-8383
                                                                                               TOTALS: 5, * 0, ## 1
Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.     Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




            Case 09-23053-TWD        Doc 93     Filed 10/29/10     Ent. 10/29/10 21:49:42       Pg. 3 of 4
 District/off: 0981-2                  User: dannyr                       Page 2 of 2                          Date Rcvd: Oct 27, 2010
 Case: 09-23053                        Form ID: b18                       Total Noticed: 42

               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 29, 2010                                       Signature:




            Case 09-23053-TWD                Doc 93        Filed 10/29/10          Ent. 10/29/10 21:49:42             Pg. 4 of 4
